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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

 

. JOSEPH KELLY : CIVIL ACTION NO.
1936 S. Hicks Street, ‘
Philadelphia, PA 19l45
Plaintiff, JURY TRIAL DEMANDED
V. t

THE HOME DEPOT, INC.
2200 W. Oregon Avenue
Philadelphia, PA l9l45

Defendant.

 

COMPLAINT _ CIVIL ACTION

Plaintiff, Joseph Kelly (“Plaintift")_, by and through his undersigned attorney, for his
Complaint against The Home Depot, lnc. (“Defendant”), alleges as follows:

1. Plaintiff brings this Complaint contending that Defendant has violated the
Americans With Disabilities Act, 42 U.S.C. § 12101, er seq, (“ADA”) by failing to engage in an
interactive process of determining a reasonable accommodation for his disability; by discharging
Plaintiff on account of his disability and/or because Defendant regarded him as being disabled
Within the meaning of the ADA; and in retaliation for requesting a reasonable accommodation in

connection thereto.

PARTIES

2. Plaintiff Joseph Kelly is an adult American citizen residing at 1936 S. Hicks Street,

Philadelphia, PA 19145.

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3. Upon information and belief, The Home Depot, Inc. is a corporation existing under
the laws of the Commonwealth of Pennsylvania with a registered business address of 2200 West
Oregon Avenue, Philadelphia, PA 19145.

.]URIS])ICTION AND VENUE

4. Paragraphs 1 through 3 are hereby incorporated by reference as though the same
were fully set forth at length herein.

5. On Or about June 28, 2017, Plaintiff filed a Charge of Discrirnination with the Equal
Employment Opportunity Cornmission, thereby satisfying the requirements of 42 U.S.C-
§§ 2000e5 (b) and (e). Plaintiff’ s EEOC Charge Was docketed as EEOC Charge Number 530-2017-
03126. Plaintift` s EEOC Charge was filed Within one hundred and eighty (180) days of the
unlawful employment practice.

6. By correspondence dated April 4, 2018, Plaintiff received Notice of Rights to Sue
from the EEOC regarding his Charge of Discrimination, advising him that he had ninety (90) days
to tile suit against Defendant.

7. On or about June 15, 2018, within the relevant statutory tirneline, Plaintiff filed the
instant matter.

8. Plaintiff has therefore exhausted his administrative remedies and has complied With
all conditions precedent to maintaining this action.

9. This action is authorized and instituted pursuant to the Americans with Disabilities
Act of 1990, 42 U.S.C. § 12101, er seq. (“ADA”).

10. This Court has jurisdiction over this matter pursuant to 28 U.S-C. §§ 1331 and 1343,

as it is a civil rights action arising under the laws of the United States.

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11. The venue in this District is proper pursuant to 28 U.S.C. § 1391, inasmuch as the

events giving rise to this action occurred in this District.
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12. Paragraphs 1 through 11 are hereby incorporated by reference as though the same
were fully set forth at length herein.

13. On or around November 25J 2015, Plaintiff began his employment With
Defendant as a part-time Sales Associate in the electrical/lighting department

14. On or around May 30, 2016, Plaintiff transferred to a part-time Freight Team
Associate position.

15. On or around September 19, 2016, Plaintiff converted to full-time employment
and remained as a Freight Team Associate.

16. At all times material hereto, Plaintiff received positive reviews of his performance,
occasional raises, and no significant discipline

17. By way of background, Plaintiff suffers from a heart condition caused by
complications with an underlying diagnosis of Diabetes, a disability within the meaning of the
ADA in that it impairs one or more major life activities Specitically, as a result of this condition,
Plaintiff had to limit the amount to which he engaged in strenuous activities such as climbing

ladders and lifting objects of moderate to heavy weight

18. In or around August 2016, Plaintiff was hospitalized as a result of this foregoing
condition, and he received instructions, from his doctor, to refrain from engaging in overly
strenuous manual labor

19. Accordingly, Plaintiff informed his manager, Johnathan Rarnos (“l\/lr. Ramos”), of

all the restrictions

 

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20. Although Mr. Rarnos was accommodating Plaintiff’ s restrictions, l\/lr.l Ramos left
employment with Defendant in or around the Fall of 2016, when he was replaced by an individual
named Ernesto Valdez (“Mr. Valdez”).

21. lmmediately after Mr. Valdez assumed Mr. Ramos’ 'position, Plaintiff became
subject to hostile and discriminatory treatment on account of his heart condition

22. Specifically, after Plaintiff informed Mr. Valdez of his heart condition and
associated restrictions, he stated, with an angry and condescending tone, “they hired [Plaintiff] to
do a job; if “[Plaintiff doesn’t] like it, [Plaintiff] can leave.”

23. Additionally, l\/lr. Valdez forced Plaintiff to work against his light duty restrictions
approximately two (2) to three (3) times a week.

24. For example, on or around December 20, 2016, l\/[r( Valdez was walking through
the aisles and saw fifty (50) to sixty (60) boxes left in the aisle, expressing how the boxes could
not be left there. ln response, Plaintiff explained the boxes were to be placed in the overhead and
he had a restriction of lifting boxes above twenty (20) pounds. Plaintiff further explained he did
not have a license to use the order picker to place the boxes in the overhead However, Mr. Valdez
continued to pressure Plaintiff to move the boxes.

25. As a result of Mr. Valdez’s treatment, Plaintiff filed a complaint with his Store
Manager, Laura Griffis (“Ms. Griffis”).

26. Following Plaintiff" s complaint to Laura LNU, Plaintiff received a call from
Defendant’s human resource department (“I-IR”), wherein Plaintiff was assured that the problems
with Mr. Valdez had been fixed and that Plaintiff had nothing to worry about.

27. On or around January 3, 2017, Plaintiff’ s employment was terminated, merely one

(1) week after receiving re-assurances from Defendant’s HR.

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28. Specifically, Defendant informed Plaintiff that he was being terminated for having
engaged in discriminatory behavior against a co-worker, but was, suspiciously, not provided with
any details regarding the alleged discriminatory behavior.

29. Accordingly, it is believed and therefore averred that Defendant terminated
Plaintiff"semployment on account of his disability and/or perceived disability, in retaliation for
Plaintiff requesting an accommodation, and out of an unlawful desire to avoid providing an
accommodation for Plaintiff’ s anticipated recovery period.

30. Defendant failed to provide Plaintiff with a reasonable accommodation for his
disability and/or perceived disability and failed to engage in the interactive process to determine
such reasonable accommodations

31. As a result of Defendant’s deliberate, willfulJ malicious, and unlawful actions,
Plaintiff has suffered damages, including, but not limited to, loss of cmployment, earnings and
earnings potential, loss of potential bonuses, and other economic damages, and has also suffered
mental anguish, emotional pain and suffering, emotional distress,l humiliation, and damage to his

reputation
COUNT I
AMERICANS WITH DISABILITIES ACT
42 U.S.C. § 12101, et seq.
DISCRIMINATION AND RETALIATION
32. Paragraphs 1 through 31 are hereby incorporated by reference as though the same
were fully set forth at length herein.
33. At all times relevant hereto, Plaintiff was an employee within the meaning of the
Americans with Disabilities Act, 42 U.S.C. § l2101, et seq.

34. At all times relevant hereto, Defendant had at least fifteen (15) employees

35. Plaintiff is a qualified individual with a disability within the meaning of the ADA.

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36. As described above, Plaintiff s condition is a physical impairment that substantially
l limited Plaintiff in one or more major life activities

37. Defendant was aware of Plaintiffs disability and/or regarded Plaintiff as being
disabled.

3 8. By reason of the foregoing, Defendant, through its agents, officers, servants, and/or '
employees, has violated the ADA by terminating Plaintiff on account of his disability and/or
because it regarded him as being disabled within the meaning of the ADA.

39. Defendant also failed to engage in the interactive process with Plaintiff despite
Plaintiff’s requests for a reasonable accommodation and previously receiving his light duty
accommodation

40. As a result of Defendant’s deliberate, unlawful, and malicious acts as set forth
above, Plaintiff has suffered loss of employment, earnings, earnings potential, raises, and other
significant economic benefits, along with emotional pain and suffering, emotional distress, and
humiliation.

WHEREFORE, as a result of the unlawful conduct of Defendant, Plaintiff respectfully
requests that this Court enter judgment in his favor and against Defendant, and grant him the
maximum relief allowed by law, including, but not limited to:

A. Back wages, front pay, and bonuses in an amount to be determined at trial, but not
less than one hundred and fifty thousand dollars ($150,000.00);

B. Punitive, compensatory, and/or exemplary damages in an amount to be determined
at trial, but sufficient to punish Defendant for its intentional, negligent, willful, wanton, and/or

malicious conduct;

 

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C. Plaintiff s costs, disbursements, and attorney’s fees incurred in prosecuting this
matter;

D. Pre-judgment interest in an appropriate amount;

E. Such other and further relief as is just and equitable under the circumstances; and

F. Any verdict in favor of Plaintiff is to be molded by the Court to maximize the

financial recovery available to Plaintiff in light of the caps on certain damages set forth by

applicable federal law-

.]URY DEMAND

Plaintiff hereby demands a trial by jury as to all issues so triable

Dated:

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MURP AW ROUP, LLC

 

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1628 John F. Kennedy Blvd.
Philadelphia, PA 19103

215.375.0961 or 267.273.1054
murphv@nhillyemploymentlawver.com
Attorney for Plaintiff

 

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DEMAND TO PRESERVE EVIDENCE

The Defendant is hereby demanded to preserve all physical and electronic information
pertaining in any way to Plaintiff s employment, to his potential claims and his claims to damages,
to any defenses to same, including, but not limited to electronic data storage, employment files,
files, memos, job descriptions, text messagesj e-mails, spreadsheets, images, cache memory,
payroll records, paystubs, time records, timesheets, and any other information and/or data which

may be relevant to any claim or defense in this litigation

